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                                   Certificate of Service ,




       I, Michael Patrick Siano, do hereby certify that a true and correct copy of the foregoing
                                                       ,
Complaint with Quiet Title and Petition for Permanent Injunctive Relief has been served upon

by placing the same in the U.S. Mail, properly addressed to M&T BANK and PARKER McCAY

LAW OFFICES P.A. on this 18th day of September in the year of ourLord 2020.




                                               By:~~-

                                                     Michael Patrick Siano
                                                    102 Haines Street East
                                                    Lanoka Harbor, NJ 08734
                                                    Phone: 732-788-0772
                                                    Mikee 1987@yahoo.com




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